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IS 44 (Rev, 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
HELEN SWARTZ, Individually GVH PARTNERS,
a Pennsylvania Limited Partnership
(b) County of Residence of First Listed Plaintiff Miami-Dade County, FL _ County of Residence of First Listed Defendant :
(EXCEPT IN U.S, PLAINTLFF CASES) UN U.S, PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Teleplione Number) Attorneys (If Known)
David S. Dessen, Dessen, Moses & Rossito, 600 Easton Rd, Willow

Grove, PA 19090, 215.496.2902 & Fuller, Fuller & Assoc., 12000
Biscayne Blvd, N. Miami, FL 33181, 305.891.5199 [PHV pending]

 

 

 

 

 

 
 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in Que Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
01. US. Government Aa Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State aol O | Incorporated or Principal Place o4 04
of Business In This State
O02 U.S. Government 04 Diversity Citizen of Another State O 2. © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in lem [L) of Business In Another State
Citizen or Subject of a 03 © 3. Foreign Nation 06 O6
Foreign Country
IV. NATURE OF SUIT j(rttice an “v" in One Box Only) Click here for: Nature of Suit fode Desc riptions,
[ CONTRACT TORTS Ke TRE) [BANKRUPTCY 1 TU
OD 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 0 422 Appeal 28 USC 158 0 375 False Claims Act
0 120 Marine 0 310 Airplane 11 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal 0 376 Qui Tam (3! USC
O 130 Miller Act 0 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
CO 140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Phannaceutical PROPER Ly iaits 0 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
C7 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent © 450 Commerce
0 152 Recovery of Defaulted Liabilily 0 368 Asbestos Personal 0 835 Patent - Abbreviated 0 460 Deportation
Student Loans 1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
{Excludes Veterans) © 345 Marine Product Liability (J 840 Trademark Corrupt Organizations
OG 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 2 SOCT SURI © 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle O 370 Other Fraud 710 Fair Labor Standards 861 HIA (1395ff) 0 490 Cable/Sat TV
160 Stockholders’ Suits (1 355 Motor Vehicle 7 37! Truth in Lending Act 0 862 Black Lung (923) 0 850 Securilies/Commodities/
0 190 Other Contract Product Liability 1 380 Other Personal © 720 Labor/Management 863 DIWC/DIWW (405(g)) Exchange
01 195 Contract Product Liability | 360 Other Personal Properly Damage Relations O1 864 SSID Title XVI O 890 Other Statutory Actions
0 196 Franchise Injury 1 385 Property Damage © 740 Railway Labor Act 1 865 RS] (405(g)) O 891 Agricultural Acts
7 362 Personal Injury - Product Liability © 751 Family and Medical 1 893 Environmental Matters

Leave Act C1 895 Freedom of Information

(J 790 Other Labor Litigation FEDERAL Tako Dies Act

(J 791 Employee Retirement 1 870 Taxes (U.S, Plaintiff 1 896 Arbitration

Medical Malpractice

 
  
 

  

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O 210 Land Condemnation qo 440 Other Civil Rights

   

Habeas Corpus:

 

 

 

 

 

 

 

0 220 Foreclosure OF 441 Voting O 463 Alien Detainee Income Security Act or Defendant) O 899 Adininistrative Procedure
OC 230 Rent Lease & Ejectment 1 442 Employment C1 510 Motions 10 Vacate 0 871 IRS—Third Party Act/Review or Appeal of
C6 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations 0 530 General 1 950 Constitutionality of
© 290 All Other Real Property O 445 Amer, w/Disabilities -] 1 535 Death Penalty TNIMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
(K 446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
1 448 Education C1 555 Prison Condition
11 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
JX! Original (2 Removed from O 3 Remanded from 1 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specifi) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Title IIL of the Americans with Disabilities Act, 42 USC Sec. 12181, et.seq.
Brief description of cause:
Equal access to places of public accommodation for persons with disabilities

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN oO CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VOI. RELATED CASE(S)
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IF ANY Seems UD GE __~ DOCKET NUMBER

 

 

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FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

HELEN SWARTZ, Individually,

 

Plaintiff,
V.
Case No.
GVH PARTNERS, a Pennsylvania
Limited Partnership,
Defendant.
COMPLAINT

Plaintiff, HELEN SWARTZ, Individually, on her behalf and on behalf of all other
mobility-impaired individuals similarly-situated, (sometimes referred to as “Plaintiff*), hereby
sues the Defendant, GVH PARTNERS, a Pennsylvania Limited Partnership (sometimes referred
to as “Defendant’”) for Injunctive Relief, and attorney’s fees, litigation expenses, and costs

pursuant to the Americans with Disabilities Act, 42 USC § 12181 et seg. (“ADA”).

a. Plaintiff, HELEN SWARTZ, resides in Miami Beach, Florida, in the County of
Miami-Dade.

b. Defendant’s property, The Desmond Hotel, is located at 1 Liberty Boulevard,
Malvern, PA, in the County of Chester.

c. Venue is properly located in the Eastern District of Pennsylvania because venue
lies in the judicial district of the property situs. The Defendant’s property is located in and does

business within this judicial district.
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d. Pursuant to 28 USC § 1331 and 28 USC § 1343, this Court has been given
original jurisdiction over actions which arise from the Defendant’s violations of Title II of the
Americans with Disabilities Act, 42 USC § 12181 et seq. See, also, 28 USC § 2201 and § 2202.

e. Plaintiff, HELEN SWARTZ is a Florida resident, is sui juris, has multiple
sclerosis and relies on the use of an electric scooter to ambulate, as she is mobility impaired.
She qualifies as a person with disabilities, as defined by the Americans with Disabilities Act.

Helen Swartz was bom and raised in New York City and moved to the
Philadelphia area in 1978 to attend graduate school. After completion of her studies, she
founded a business and resided in the area until 2011. She was active in the business
community and has many long-standing relationships that she has maintained throughout the
years. She also had two children during those years, through which she knew many people.

Her elder daughter and granddaughter live in the Lancaster area and she often
meets them, so that they may enjoy cultural activities, dining and shopping. Ms. Swartz lived
in the Lancaster area for many years and has many friends there

Helen Swartz visited the property which forms the basis of this lawsuit from June
13 through June 14, 2021, and has reservations to return to the property on December 1 through
December 2, 2021, to meet her daughter and granddaughter to enjoy restaurants and sopping at
King of Prussia. She is returning to Malvern because it is conveniently located between
Lancaster and King of Prussia Ms. Swartz also wishes to avail herself of the goods and
services offered to the public at the property, if the facilities are fully accessible and the barriers
to access have been corrected. The Plaintiff has encountered architectural barriers at the
subject property, which have impaired her use of the facilities and the amenities offered, and

have endangered her safety at the facilities and her ability to access the facilities the property has
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to offer and use the restrooms.

f. The Plaintiff has encountered architectural barriers at the subject property, which
are enumerated in paragraph 10. The barriers to access at the property have endangered her
safety, and adversely affected her ability to use the facilities.

g. Defendant owns, leases, leases to, or operates a place of public accommodation as
defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendant is responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operates, leases or leases to is known as The Desmond
Hotel, and is located at 1 Liberty Boulevard, Malvern, PA, in the County of Chester.

h. HELEN SWARTZ has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA with respect to this property
as described but not necessarily limited to the allegations in Paragraph 10 of this Complaint.
Plaintiff has reasonable grounds to believe that she will continue to be subjected to
discrimination in violation of the ADA by the Defendant. HELEN SWARTZ desires to visit
not only to avail herself of the goods and services available at the property but to assure herself
that this property is in compliance with the ADA so that she and others similarly-situated will
have full and equal enjoyment of the property without fear of discrimination.

il The Defendant has discriminated against the individual Plaintiff by denying her
access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages
and/or accommodations of the hotel, as prohibited by 42 USC § 12182 et seq.

i. The Defendant has discriminated, and is continuing to discriminate, against the
Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of
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$500,000 or less). A preliminary inspection of has shown that violations exist. These
violations which HELEN SWARTZ personally observed or encountered, and which were
verified by an ADA expert, include, but are not limited to:

a. The hotel does not provide the required amount of compliant accessible
guest rooms, and the accessible rooms are not dispersed among the various classes of
accommodations. This is in violation of section 224 of the 2010 Standards for
Accessible Design. 28 CFR §36.304. This denies to Plaintiff the full and equal
opportunity to stay at the subject hotel. 28 CFR §36.302(e)(1).

b. The accessible features of the facility are not maintained, creating
barriers to access for the Plaintiff, as set forth herein, in violation of 28 CFR §36.211.

c. The accessible parking spaces access aisles do not adjoin an accessible
route. This is in violation of section 502.3 of the 2010 Standards for Accessible
Design: 28 CFR §36.201, §36.203, §36.302 & §36.304. The hotel did not make
reasonable accommodations to provide appropriate accessible parking spaces. This
condition made it difficult to access the facility.

d. The accessible parking spaces identification signs are too low. The
hotel did not make reasonable accommodations to provide appropriate accessible
signage. This is in violation of section 502.6 of the 2010 Standards for Accessible
Design: 28 CFR §36.201, §36.203, §36.302 & §36.304. This condition made it difficult
for the plaintiff to find the accessible parking spaces.

e. The accessible parking spaces at the site are located far from the
accessible route from parking to an accessible entrance. The hotel did not make
reasonable accommodations to provide appropriate accessible parking spaces. This is in
violation of section 208.3.1 of the 2010 Standards for Accessible Design: 28 CFR
§36.201, §36.203, §36.302 & §36.304. This condition made it difficult for the plaintiff
to access the facility.

f. The accessible parking spaces are not dispersed and located on the
shortest accessible route to the accessible entrances, such as the tennis courts. The hotel
did not make reasonable accommodations to provide appropriate accessible parking
spaces by the tennis courts and other accessible entrances. This is in violation of section
208.3.1 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.203,
§36.302 & §36.304. This condition made it difficult for the plaintiff to access the
facility.
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g. Accessible seating at the tables inside and around the hotel is not
provided to a person using a wheelchair. This is in violation of sections 226 and 902 of
the 2010 Standards for Accessible Design. The hotel did not make reasonable
accommodations to redesign access for this facility. This condition denied the
Plaintiff access to any of the tables inside or around the hotel; 28 CFR §36.201, §36.202
§36.203 & §36.304.

h. The hotel discriminated against the plaintiff by only offering seating to
able individuals. This is in violation of 28 CFR §36.201, §36.202, §36.304.

1. Appropriate stairway handrails and/or handrail extensions are not
provided at the stairways around the hotel, The Fork & Bottle, the pool stairway to the
Fitness Center, the Gazebos, and the bridges. This is in violation of section 505 of the
2010 Standards for Accessible Design: 28 CFR §36.304.

j- An accessible route is not provided to enter the outdoor wedding
venues. The hotel did not make reasonable accommodations to redesign access for this
facility. This is in violation of section 206.2 of the 2010 Standards for Accessible
Design: 28 CFR §36.304. This condition denied the Plaintiff to independently access to
the gazebos; 28 CFR §36.201, §36.202 §36.203 & §36.304.

k. The hotel discriminated against the plaintiff by only offering the
outdoor wedding venue to able individuals. This is in violation of 28 CFR §36.201,
§36.202, §36.304.

I. An accessible route is not provided to enter the tennis facility. The
hotel did not make reasonable accommodations to redesign access for this facility. This
is in violation of section 206.2 of the 2010 Standards for Accessible Design: 28 CFR
§36.304. This condition denied the Plaintiff to independently access to the tennis courts.
28 CFR §36.201, §36.202 §36.203 & §36.304.

m. The hotel discriminated against the plaintiff by only offering the tennis
courts to able individuals. This is in violation of 28 CFR §36.201, §36.202, §36.304.

n. The plaintiff was unable to take up the hotel’s offer of using their
shuttle service as the vehicle does not have a ramp, lift, or other instrument making the
vehicle accessible to an individual using a wheelchair. This is in violation of section
T202 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.202 §36.203
& §36.304. This condition denied the Plaintiff to independently access to the shuttle.
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oO. The hotel discriminated against the plaintiff by only offering the shuttle
vehicle to able individuals. This is in violation of 28 CFR §36.201, §36.202, §36.304.

p. In the accessible guestroom, #104, the operable controls for the
window require tight grasping, pinching, or twisting of the wrist. This is in violation of
sections 309.4 & 806 of the 2010 Standards for Accessible Design: 28 CFR §36.201,
§36.202 & §36.304. This condition denied the plaintiffs ability to access the window
controls independently.

q. In accessible guestroom #104 a turning space is not provided to access
the window control by the bed. The hotel did not make reasonable accommodations to
redesign access for this facility. This is in violation of sections 305 and 806 of the 2010
Standards for Accessible Design: 28 CFR §36.201, §36.203, §36.302 & §36.304. This
condition denied the plaintiff's ability to access the facility independently.

r. In the accessible guestroom, #104, items in the closet are out of reach
to a person in a wheelchair. The hotel did not make reasonable accommodations to
redesign access for this facility. This is in violation of section 811 of the 2010
Standards for Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition
denied the plaintiff's ability to hang up her clothes independently.

S. In the accessible guestroom, #104, the cabinet the door opening does
not provide a clear width for access. The hotel did not make reasonable accommodations
to redesign access for this facility, and to also include hangers. This is in violation of
sections 404.2.3 & 811 of the 2010 Standards for Accessible Design: 28 CFR §36.201,
§36.202 & §36.304. This condition denied the plaintiffs ability to access the closet rod
and ironing board independently.

t. In the accessible guestroom, #104, the safe and iron in the cabinet are
out of reach to a person in a wheelchair. The hotel did not make reasonable
accommodations to redesign access for this facility. This is in violation of sections 309
and 811.3 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.202 &
§36.304. This condition denied the plaintiff's ability to reach these items independently.

u. The operable part of the door hardware on the adjoining room door in
the accessible guestroom, #104 requires tight grasping, pinching, or twisting of the
wrist. The hotel did not make reasonable accommodations to redesign access for this
facility. This is in violation of sections 309.4 and 806 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the
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plaintiff's use the facility independently.

Vv. In the accessible guestroom, #104, the threshold to enter the bathroom
is too high. The hotel did not make reasonable accommodations to redesign access for
this facility. This is in violation of sections 404.2.5 and 806 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition makes it
difficult for the plaintiff's access to the facility.

Ww. In guestroom #104, which hotel deemed an accessible guestroom, the
flush control is on the closed side of the water closet. The hotel did not make reasonable
accommodations to redesign access for this facility. This is in violation of section
806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.302 &
§36.304. This condition denied the plaintiff to access the facility independently.

X. In guestroom #104 which hotel deemed an accessible guestroom,
appropriate grab bars are not provided by the water closet. The hotel did not make
reasonable accommodations to redesign access for this facility. This is in violation of
section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.302
& §36.304. This condition denied the plaintiff to access the facility independently.

y. In guestroom #104, which hotel deemed an accessible guestroom, the
toilet paper is behind the water closet. The hotel did not make reasonable
accommodations to redesign access for this facility. This is in violation of section
806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.302 &
§36.304. This condition denied the plaintiff to access the facility independently.

Z. In guestroom #104, which hotel deemed an accessible guestroom, the
mirror in the bathroom is too high. The hotel did not make reasonable accommodations
to redesign access for this facility. This is in violation of section 806.2.4 of the 2010
Standards for Accessible Design. 28 CFR §36.304. This condition denied the plaintiff
use of the facility.

aa. In guestroom #104, which hotel deemed an accessible guestroom, a
person in a wheelchair is unable to access the hair dryer bathroom. The hotel did not
make reasonable accommodations to redesign access for this facility. This is in
violation of sections 305, 308 & 806.2.4 of the 2010 Standards for Accessible Design.
28 CFR §36.304. This condition denied the plaintiff use of the facility.

bb. In guestroom #104, which hotel deemed an accessible guestroom, an
appropriate clearance is not provided around the water closet. The hotel did not make
reasonable accommodations to redesign access for this facility. This is in violation of
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section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR §36.201, §36.302
& §36.304. This condition denied the plaintiff to access the facility independently.

ce. In the accessible guestroom, #104, the shower seat in the roll-in shower
is not properly located. The hotel did not make reasonable accommodations to redesign
access for this facility. This is in violation of section 806.2.4 of the 2010 Standards for
Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This condition denied the
plaintiff's ability to access the shower independently.

dd. In the accessible guestroom, #104, appropriate grabs are not correctly
installed in the roll-in shower in. The hotel did not make reasonable accommodations to
redesign access for this facility. | This is in violation of section 806.2.4 of the 2010
Standards for Accessible Design: 28 CFR §36.201, §36.202 & §36.304. This made it
difficult for the plaintiff to access the facility.

ee. In guestroom #104, which hotel deemed an accessible guestroom, the
shower spray unit in the roll-in shower does not have an on/off control with a
non-positive shut-off. This is in violation of section 806.2.4 of the 2010 Standards for
Accessible Design: 28 CFR §36.304. This condition made it difficult for the plaintiff to
access the facility.

ff. In guestroom #104, which hotel deemed an accessible guestroom, the
shower spray unit in the roll-in shower is out of reach to a person in a wheelchair. This
is in violation of section 806.2.4 of the 2010 Standards for Accessible Design: 28 CFR
§36.201, §36.202 & §36.304. This condition denied the plaintiff to access the facility.

ge. An accessible mean of entry is not provided to access the assorted
cordoned off areas of the pool. The hotel did not make reasonable accommodations to
redesign access for this facility. This is in violation of section 1009.1 of the 2010
Standards for Accessible Design. This condition denied the Plaintiff access to use the
lift or other area of the pool; 28 CFR §36.201, §36.202, §36.304.

bh. The telephone in the pool area is out of reach to a person in a
wheelchair. The hotel did not make reasonable accommodations to redesign access for
this facility. This is in violation of sections 309 & 704 of the 2010 Standards for
Accessible Design. This condition denied the Plaintiff access to use the telephone
independently; 28 CFR §36.201, §36.202, §36.304.

li, The telephone in the Fitness Center is out of reach to a person in a
wheelchair. The hotel did not make reasonable accommodations to redesign access for
this facility. This is in violation of sections 309 & 704 of the 2010 Standards for
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Accessible Design. This condition denied the Plaintiff access to use the telephone
independently; 28 CFR §36.201, §36.202, §36.304.

jJ- An appropriate transfer shower is not provided in the Fitness Center
bathroom. The hotel did not make reasonable accommodations to redesign access for
this facility. This is in violation of sections 213 & 608 of the 2010 Standards for
Accessible Design. 28 CFR §36.304. This condition denied the plaintiff use of the
shower independently.

kk. An appropriate water closet and toilet compartment is not provided in
the Fitness Center bathroom. The hotel did not make reasonable accommodations to
redesign access for this facility. This is in violation of sections 213, 603, 604 & 609
of the 2010 Standards for Accessible Design. 28 CFR §36.304. This condition denied
the plaintiff use of the facility.

Il. The toilet seat dispenser is out of reach to a person in a wheelchair.
The hotel did not make reasonable accommodations to redesign access for this facility.
This is in violation of section 308 & 309 of the 2010 Standards for Accessible Design.
28 CFR §36.304. This condition denied the plaintiff use of the facility independently.

mm. In the Fitness Center toilet room, the mirror is out of reach to a person
in a wheelchair. The hotel did not make reasonable accommodations to redesign access
for this facility. This is in violation of section 603.3 of the 2010 Standards for
Accessible Design. 28 CFR §36.201, §36.202 & §36.304. This condition made it
difficult for the Plaintiff to access the facility.

nn. The outlet on the computer table is out of reach to a person in a
wheelchair. The hotel did not make reasonable accommodations to redesign access for
this facility. This is in violation of section 308 of the 2010 Standards for Accessible
Design. 28 CFR §36.201, §36.202 & §36.304. This condition denied the Plaintiff to
access the facility independently.

00. Items in the sundry area and refrigerators are out of reach to a person in
a wheelchair. The hotel did not make reasonable accommodations to redesign access
for this facility. This is in violation of section 308 of the 2010 Standards for Accessible
Design. 28 CFR §36.201, §36.202 & §36.304. This condition denied the Plaintiff to
access the facility independently.

pp. The ramp does not have an appropriate handrail extension. The hotel
did not make reasonable accommodations to redesign access for this facility. This is in
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violation of section 505.10 of the 2010 Standards for Accessible Design. 28 CFR
§36.201, §36.202 & §36.304. This condition made it difficult for the Plaintiff to access
the facility independently.

qq. In the accessible toilet compartment in the lobby toilet room the toilet
paper dispenser is too far from the water closet. The hotel did not make reasonable
accommodations to redesign access for this facility. This is in violation of section 604.7
of the 2010 Standards for Accessible Design: 28 CFR §36.304. This condition denied
the plaintiff to access the facility independently.

11. All of the foregoing cited violations are violations of both the 1991 Americans
with Disabilities Act Guidelines (ADAAG) and the 2010 Standards for Accessible Design, as
adopted by the Department of Justice.

12. The discriminatory violations described in Paragraph 10 are not an exclusive list
of the Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of
public accommodation in order to photograph and measure all of the discriminatory acts
violating the ADA and all of the barriers to access. The individual Plaintiff, and all other
individuals similarly-situated, have been denied access to, and have been denied the benefits of
services, programs and activities of the Defendant’s facilities, and have otherwise been
discriminated against and damaged by the Defendant because of the Defendant’s ADA
violations, as set forth above. The individual Plaintiff, and all others similarly-situated will
continue to suffer such discrimination, injury and damage without the immediate relief provided
by the ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff
requires an inspection of the Defendant’s place of public accommodation in order to determine
all of the areas of non-compliance with the Americans with Disabilities Act.

13. Defendant have discriminated against the individual Plaintiff by denying her

access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

10
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accommodations of its place of public accommodation or commercial facility in violation of 42
USC § 12181 et seg. and 28 CFR. 36.302 et seg. Furthermore, the Defendant continue to
discriminate against the Plaintiff, and all those similarly-situated by failing to make reasonable
modifications in policies, practices or procedures, when such modifications are necessary to
afford all offered goods, services, facilities, privileges, advantages or accommodations to
individuals with disabilities; and by failing to take such efforts that may be necessary to ensure
that no individual with a disability is excluded, denied services, segregated or otherwise treated
differently than other individuals because of the absence of auxiliary aids and services.

14. Plaintiff is without adequate remedy at law and is suffering irreparable harm.
Considering the balance of hardships between the Plaintiff and Defendant, a remedy in equity is
warranted. Furthermore, the public interest would not be disserved by a permanent injunction.
Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and
litigation expenses from the Defendant pursuant to 42 USC § 12205 and 28 CFR 36.505.

15. Defendant is required to remove the existing architectural barriers to the
physically disabled, when such removal is readily achievable for its place of public
accommodation that has existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative,
if there has been an alteration to Defendant’s place of public accommodation since January 26,
1992, then the Defendant is required to ensure to the maximum extent feasible, that the altered
portions of the facility are readily accessible to and useable by individuals with disabilities,
including individuals who use walkers and wheelchairs, 28 CFR 36.402; and finally, if the
Defendant’s facility is one which was designed and constructed for first occupancy subsequent to
January 26, 1993, as defined in 28 CFR 36.401, then the Defendant’s facility must be readily

accessible to and useable by individuals with disabilities as defined by the ADA.

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16. Notice to Defendant is not required as a result of the Defendant’s failure to cure
the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees
and gross receipts of $500,000 or less). All other conditions precedent have been met by
Plaintiff or waived by the Defendant.

17. Pursuant to 42 USC § 12188, this Court is provided with authority to grant
Plaintiff Injunctive Relief, including an order to require the Defendant to alter the to make those
facilities readily accessible and useable to the Plaintiff and all other persons with disabilities as
defined by the ADA; or by closing the facility until such time as the Defendant cure its violations
of the ADA. The Order shall further require the Defendant to maintain the required assessable
features on an ongoing basis.

WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the
Defendant at the commencement of the subject lawsuit are in violation of Title III of the
Americans with Disabilities Act, 42 USC § 12181 et seq.

b. Injunctive relief against the Defendant including an order to make all
readily achievable alterations to the facility; or to make such facility readily accessible to
and useable by individuals with disabilities to the extent required by the ADA; and to
require the Defendant to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford all offered goods, services,
facilities, privileges, advantages or accommodations to individuals with disabilities; and
by failing to take such steps that may be necessary to ensure that no individual with a
disability is excluded, denied services, segregated or otherwise treated differently than

other individuals because of the absence of auxiliary aids and services.

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c. An award of attorney’s fees, costs and litigation expenses pursuant to 42
USC § 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable

under Title II] of the Americans with Disabilities Act.

Dated: Joly Ley , 2021

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Respectfully submitted,

(ORS 00

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and

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Attorneys for Plaintiff Helen Swartz
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: c/o Lawrence A. Fuller, 12000 Biscayne Blvd., N. Miami, FL 33181

 

Address of Defendant: GVH PARTNERS, 321 Norristown Road - Suite 111, Ambler, PA 19002

 

The Desmond Hotel, 1 Liberty Boulevard, Malvern, PA

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [] No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [ ] No

case filed by the same individual?

I certify that, to my knowledge, the within case (1 is / [2] is not related to any case now pending or within one year previously terminated action in

this court except as noted above. ,
DATE: ely Ze, Zo2l ; (Qoed Os L71627

Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

CIVIL: (Place a V in one category only)

Federal Question Cases: Diversity Jurisdiction Cases:

 

A, B.
oO 1 Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
L] 2. FELA CL] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury LJ 3. Assault, Defamation
CC] 4. Antitrust CJ 4.) Marine Personal Injury
H 5. Patent [LJ 5. Motor Vehicle Personal Injury

6. Labor-Management Relations CL] 6. Other Personal Injury (Please specify):
7. Civil Rights LJ 7. Products Liability
[J 8. Habeas Corpus (J 8. Products Liability - Asbestos
H 9. Securities Act(s) Cases LC] 9. All other Diversity Cases

10. Social Security Review Cases (Please specify’).
[] 11. All other Federal Question Cases

(Please specify):

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

I, DA “wo S Decgen 4 EG _, counsel of record or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

NM Relief other than monetary damages is sought.
DATE: ha ly Zo, Zort hire! Oe. Me Z7
Attorney-at-Law / Pro Se Plaintiff Attorney 1D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C,P. 38.

 

 

Civ, 609 (5/2018)

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

HELEN SWARTZ, Individually,
Vv. CIVIL ACTION NO.
GVH PARTNERS, t

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a Case Management Track Designation Form specifying
the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.  ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

 

 

(f) Standard Management ~ Cases that do not fall into any one of the other tracks. (X)
duly ze, WU 10k den Plaintiff
Date Attorney-at-law Attorney for

Zls~-GS9-
215-658-1400 penned een +7 ddessen@dms-lawyer.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
